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                           UNITED STATES DISTRICT COURT
                                      FOR THE
                           WESTERN DISTRICT OF WISCONSIN


LAURA ANNE RAPP, Former Personal
Representative of the Laurence A. Berg Estate,

                                      Plaintiff,
                                                                        Case No. 17-cv-00948-bbc
       v.

ANDREW J. LAUFERS, KATHERINE BROWN HOLMEN,
DUDLEY AND SMITH, PA, and JOHN DOES 1 – 5,

                                      Defendants.


                          MOTION FOR SUMMARY JUDGMENT


TO:    ALL COUNSEL AND PARTIES OF RECORD

       PLEASE TAKE NOTICE that Defendants, Andrew J. Laufers, Katherine Brown

Holmen, and Dudley and Smith, PA, by their attorneys, Bell, Moore & Richter, S.C., move the

Court pursuant to Fed. R. Civ. P. 56 for Summary Judgment dismissing all claims of Plaintiff,

Laura Anne Rapp, Former Personal Representative of the Laurence A. Berg Estate, with

prejudice.

       The grounds for this Motion are as set forth in the accompanying Brief and Affidavits

that there is no genuine issue as to any material fact, and that Movants are entitled to a judgment

as a matter of law. This Motion is based upon all of the files and pleadings in this matter,

including the Brief, Proposed Findings of Fact, and Affidavits filed herewith.
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      Dated this 26th day of November, 2018.



                                                   BELL, MOORE & RICHTER, S.C.
                                                   Attorneys for Defendants, Andrew J.
                                                   Laufers, Katherine Brown Holmen, and
                                                   Dudley and Smith, PA


                                                   /s/ Sheila M. Sullivan

                                                   By: ________________________________
                                                          Ward I. Richter
                                                          State Bar No. 1014371
                                                          Sheila M. Sullivan
                                                          State Bar No. 1025532




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